
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by Defendant on the 21st of February 2017 in this matter pursuant to G.S. 7A-30 (substantial constitutional question), the following order was entered and is hereby certified to the North Carolina Court of Appeals: the notice of appeal is
"Dismissed Ex Mero Motu by order of the Court in conference, this the 3rd of May 2017."
Upon consideration of the petition filed by Defendant on the 21st of February 2017 in this matter for a writ of certiorari to review the decision of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 3rd of May 2017."
